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                 EXHIBIT 6
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO. 20-60982-CIV-DIMITROULEAS/SNOW

APPLE CORPS LIMITED and SUBAFILMS
LIMITED,

               Plaintiffs,
vs.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

               Defendants.
                                                /

          SEALED ORDER GRANTING EX PARTE APPLICATION FOR ENTRY
                    OF TEMPORARY RESTRAINING ORDER

       THIS CAUSE came before the Court upon Plaintiffs’ Ex Parte Application for Entry of

Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets (the

“Application”) [DE 6], filed herein on May 20, 2020. The Court has carefully reviewed the

Application and the record and is otherwise fully advised in the premises.

       By the instant Application, Plaintiffs, Apple Corps Limited and Subafilms Limited

(collectively “Plaintiffs”) move ex parte, for entry of a temporary restraining order against

Defendants, the Individuals, Partnerships, and Unincorporated Associations identified on Schedule

“A” hereto (collectively “Defendants”), and an entry of an order restraining the financial accounts

used by Defendants, pursuant to pursuant to 15 U.S.C. § 1116 and Fed. R. Civ. P. 65, and The All

Writs Act, 28 U.S.C. § 1651(a).

       For the reasons set forth herein, Plaintiffs’ Ex Parte Application for Temporary Restraining

Order [DE 6] is GRANTED.
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                                  I.       Factual Background 1

       Plaintiff, Apple Corps Limited, is the registered owner of the following trademarks,

which are valid and registered on the Principal Register of the United States Patent and

Trademark Office (the “BEATLES Marks”):


                  Registration         Registration
 Trademark                                                         Class(es) / Good(s)
                   Number                 Date
                                                       IC 014 - Watches.

                                       February 16,    IC 018 - Wallets
THE BEATLES         1,752,120
                                          1993
                                                       IC 025 - Headwear, sweatshirts, t-shirts,
                                                       shirts.
                                                       IC 009 - Computer keyboard accessories,
                                                       namely mouse pads and wrist rests in the
                                                       form of pads for use with computers;
                                                       telephone apparatus, namely, telephones;
                                                       telephone receivers, telephone answering
                                                       machines, mobile telephones; cases for
                                                       mobile telephones; cell phone covers;
                                                       covers for mobile telephones, namely,
                                                       fitted plastic films known as skins for
                                                       covering and protecting electronic
                                                       apparatus in the nature of mobile
    BEATLES         4,373,956          July 30, 2013   telephones; straps for mobile telephones;
                                                       telephone call indicator lights and electro-
                                                       mechanical shakers for detecting and
                                                       signaling incoming telephone calls;
                                                       mechanical and electric egg timers; boxes
                                                       and cases specially adapted for holding
                                                       audio cassettes, video cassettes,
                                                       gramophone records, audio compact discs,
                                                       audio mini discs, video discs, and
                                                       interactive compact discs or cd-roms.

                                                       IC 014 - Jewelry boxes not of metal,

1
 The factual background is taken from Plaintiffs’ Complaint, Application for Temporary
Restraining Order, and supporting Declarations submitted by Plaintiffs.
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                                        including ceramic and porcelain jewelry
                                        boxes for trinkets; jewelry; horological and
                                        chronometric instruments, namely,
                                        watches and clocks; watch straps, cuff
                                        links, brooches, bracelets, bangles,
                                        earrings, pendants, medallions, trinkets
                                        being jewelry, charms being jewelry, rings
                                        being jewelry, tie pins, jewelers
                                        ornamental tie pins, lapel pins, tie clips,
                                        collectible non-monetary coins,
                                        ornamental pins; articles of precious metal
                                        and their alloys, and articles coated with
                                        precious metal and their alloys, namely,
                                        belt buckles for clothing, coasters, jewelry
                                        boxes, key rings, key chains; hat and shoe
                                        ornaments and key fobs all of precious
                                        metal; rings being jewelry; ornamental
                                        pins; cigarette and cigar cases; precious
                                        stones; semi-precious stones; statuettes
                                        and figurines of precious metal or precious
                                        stone or coated therewith; scale model
                                        vehicles, ships or submarines all made
                                        from, or coated with precious metal or
                                        precious stone.

                                        IC 016 - Posters; prints, namely,
                                        photograph prints and pictorial prints;
                                        pictures; art prints and framed art prints;
                                        framed and unframed pictorial prints,
                                        cartoon prints, lithographic prints, color
                                        prints,   caricature    prints,   computer
                                        generated pictorial prints, and black and
                                        white, and color prints featuring hidden or
                                        three dimensional images; paper desk
                                        mats; pen and pencil cases; pen and pencil
                                        boxes; pen and pencil holders; drawing
                                        rulers; erasers; printed paper embroidery
                                        design patterns; sewing patterns for
                                        making clothes, knitting patterns. iron-on
                                        transfers for decorating textiles; printed
                                        wall charts; paperweights, not of precious

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                                        metal; babies' bibs of paper; bookmarks;
                                        passport holders all made from leather or
                                        imitation leather; pencil cases, notelets and
                                        autograph books; reusable textile lunch
                                        bags; reusable plastic shopping bags.

                                        IC 018 - Goods made from leather or
                                        imitation leather, namely, waist pouches
                                        for carrying purses and wallets; luggage,
                                        carry on traveling bags, clutch bags,
                                        trunks, business card cases, rucksacks,
                                        backpacks, purses, wallets, key cases,
                                        luggage tags; billfolds, leather key fobs,
                                        key cases, umbrellas; bags, namely,
                                        handbags, shoulder bags, all purpose
                                        sports bags, barrel bags, carry-on flight
                                        bags, and duffel bags, suitcases, attaché
                                        cases, school bags, satchels, gym bags,
                                        beach bags and credit card cases; hand
                                        carry overnight cases of metal, plastic or
                                        resin; tote bags, including metal totes;
                                        textile shopping bags; identity card holders
                                        of leather and imitations of leather.

                                        IC 021 – Drinking vessels, namely,
                                        glasses, mugs, jugs, and tankards not of
                                        precious metal; bottles, namely, seltzer
                                        bottles for use as barware, sport bottles
                                        sold empty, and vacuum bottles; insulated
                                        bottles, namely, thermal insulated bottles
                                        and flasks for beverages.

                                        IC 024 - Decorative window curtains of
                                        wood, reed, bamboo, beads or plastic;
                                        household linen; bed linen; bedspreads;
                                        table linen; table cloths not of paper; table
                                        mats not of paper; textile table napkins;
                                        coasters made of table linen or textile;
                                        unfitted fabric furniture covers; bed sheets,
                                        pillow cases, duvet covers; towels; face
                                        towels; face washing cloths; curtains; wall

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                                                       hanging of textile; cloth banners; cloth
                                                       bunting; cloth flags; handkerchiefs;
                                                       cushion covers; pre-cut textiles for making
                                                       into cushions and cushion covers; traced
                                                       cloths for embroidery.

                                                       IC 025 - Footwear and headgear, namely,
                                                       hats and caps; clothing, namely, shirts,
                                                       polo shirts, T-shirts, sweatshirts;
                                                       sweatpants; jackets, coats; pullovers; vests;
                                                       articles of underclothing, namely,
                                                       underwear; shorts; scarves; silk pocket
                                                       squares; neck-ties; braces in the nature of
                                                       suspenders; belts; socks; long-sleeved
                                                       shirts and long sleeved T-shirts; silk
                                                       scarves; silk scarves in the shape of
                                                       squares for wearing over the head or
                                                       around the neck; pants; fleece tops;
                                                       thermal tops; jerseys; baseball jerseys;
                                                       hockey jerseys; sweaters; tank tops;
                                                       waistcoats; trousers; golf shirts; golf pants;
                                                       golf shoes; swim wear; beachwear; night
                                                       gowns; pajamas; dressing gowns;
                                                       bathrobes; bathing caps; head bands;
                                                       slippers; beach shoes; sandals; clothing for
                                                       toddlers, infants and babies, namely,
                                                       rompers, shortalls, babies' sleep suits;
                                                       cloth babies' bibs.

(See Declaration of Paul Cole in Support of Plaintiffs’ Application for Temporary Restraining

Order (Cole Decl.”) ¶¶ 4-5; see also United States Trademark Registrations of the BEATLES

Marks at issue attached as Composite Exhibit 1 to the Complaint.) The BEATLES Marks are

used in connection with the manufacture and distribution of quality goods in the categories

identified above. (See id. ¶¶ 4-5.)




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       Plaintiff, Subafilms Limited, is the registered owner of the following trademark, which is

valid and registered on the Principal Register of the United States Patent and Trademark Office

(the “YELLOW SUBMARINE Mark”):


                                Registration       Registration
        Trademark                                                         Class(es) / Good(s)
                                 Number               Date


                                                                  IC 009 - Musical sound and video
                                                                  recordings; gramophone records
                                                                  featuring music; audio compact
                                                                  discs featuring music; computer
                                                                  game software; video game
                                                                  software; interactive
                                                                  entertainment software for
                                                                  generating games, puzzles,
                                                                  images, musical entertainment,
                                                                  visual entertainment or movie
                                                                  clips; sunglasses; eyeglass cases;
                                                                  magnets; fridge magnets; mouse
                                                                  pads being accessories for
                                                                  keyboards; telephone apparatus,
                                                                  namely, covers for mobile
                                                   November 6,    telephones; straps for mobile
                                 3,328,170
                                                      2007
                                                                  telephones; and downloadable
                                                                  sound and video records featuring
                                                                  music, musicians, caricatures,
                                                                  cartoons, animation, movie clips,
                                                                  album art or music memorabilia
                                                                  images provided over broadcast,
                                                                  communications, satellite and
                                                                  computer networks.

                                                                  IC 025 - Footwear; shirts; polo
                                                                  shirts; t-shirts; long-sleeved shirts
                                                                  and long-sleeved t-shirts;
                                                                  sweatshirts; jackets; pullovers;
                                                                  vests; scarves; pocket squares
                                                                  made of silk; neck-ties; hats; caps;
                                                                  sock; thermal tops; jerseys;

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                                 Registration         Registration
        Trademark                                                            Class(es) / Good(s)
                                  Number                 Date

                                                                     sweaters; tank tops; pajamas;
                                                                     clothing for toddlers, infants and
                                                                     babies namely, one-piece
                                                                     garments for infants and toddlers,
                                                                     sleep suits, t-shirts and long-
                                                                     sleeved t-shirts.

(See Cole Decl. ¶¶ 10-11; see also United States Trademark Registrations of the YELLOW

SUBMARINE Mark at issue attached as Composite Exhibit 2 to the Complaint.) The YELLOW

SUBMARINE Mark is used in connection with the manufacture and distribution of quality

goods in the categories identified above. (See id.)

       Defendants, by operating a commercial Internet website under the domain name or e-

commerce stores via the Internet marketplace platforms under their seller identification names

identified on Schedule “A” hereto (the “Subject Domain Name and Seller IDs”), have advertised,

promoted, offered for sale, or sold goods bearing what Plaintiffs have determined to be

counterfeits, infringements, reproductions and/or colorable imitations of the BEATLES Marks

and/or the YELLOW SUBMARINE Mark (collectively “Plaintiffs’ Marks”). (See Cole Decl. ¶¶

16-20; Declaration of Stephen M. Gaffigan in Support of Plaintiffs’ Application for Temporary

Restraining Order (“Gaffigan Decl.”) ¶ 2; Declaration of Kathleen Burns in Support of Plaintiffs’

Application for Temporary Restraining Order (Burns Decl.”) ¶ 4.)

       Although each Defendant may not copy and infringe each of Plaintiffs’ Marks for each

category of goods protected, Plaintiffs have submitted sufficient evidence showing that each

Defendant has infringed, at least, one or more of Plaintiffs’ Marks. (See Cole Decl. ¶¶ 16-20.)

Defendants are not now, nor have they ever been, authorized or licensed to use, reproduce, or




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make counterfeits, reproductions, or colorable imitations of Plaintiffs’ Marks. (See id. ¶¶ 16, 18-

20, 23.)

       Plaintiffs’ counsel retained Invisible Inc (“Invisible”), a licensed private investigative

firm, to investigate the promotion and sale of counterfeit and infringing versions of Plaintiffs’

branded products by Defendants and to obtain the available payment account data for receipt of

funds paid to Defendants for the sale of counterfeit versions of Plaintiffs’ branded products. (See

Cole Decl. ¶ 17; Burns Decl. ¶ 3; Gaffigan Decl. ¶ 2.) Invisible accessed Internet website and

Internet based e-commerce stores operating under the Subject Domain Name and Seller IDs and

placed orders from each Defendant for the purchase of various products, all bearing counterfeits

of, at least, one of Plaintiffs’ trademarks at issue in this action, and requested each product to be

shipped to Invisible’s address in the Southern District of Florida. (See Burns Decl. ¶ 4 and

Comp. Exs. 1 through 6 thereto.) Each order was processed entirely online, and following the

submission of the orders, Invisible received information for finalizing payment 2 for the various

products ordered via Amazon Payments, Inc., 3 via DHpay.com, 4 via PayPal, Inc. (“PayPal”) 5 to


2
 Invisible was instructed not to transmit the funds to finalize the sale for the orders from some of
the Defendants so as to avoid adding additional funds to Defendants’ coffers. (See Gaffigan
Decl. ¶ 2, n.1; Burns Decl. ¶ 4, n.1.)
3
  Amazon is an e-commerce marketplace that allows Defendants to conduct their commercial
transactions privately via Amazon’s payment processing and retention service, Amazon
Payments, Inc. As such, Defendants’ payment information is not publicly disclosed, but Amazon
Payments, Inc. has the ability to identify and restrain the payment accounts using a seller’s
unique seller identification number. (See Gaffigan Decl. ¶ 5; Burns Decl. ¶ 4, n.2.)
4
 Defendant Numbers 30-53 use the non-party e-commerce marketplace platform, DHgate.com,
which processes its payments via the third-party platform, DHpay.com. The DHgate.com and
DHpay.com platforms are operated by the Dunhuang Group, who utilizes Camel FinTech Inc to
process transactions and deal with refunds and chargebacks on behalf of DHgate.com to its
customers. (See Burns Decl. ¶ 4, n.3; Gaffigan Decl. ¶ 6.)
5
  Upon completion of Invisible’s purchase from Defendant Number 68 operating via eBay.com,
Invisible discovered that the PayPal receipt received did not identify the Defendant’s PayPal
financial account in the form of an e-mail address. However, the receipt identifies the
                                                 8
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Defendants’ respective PayPal accounts and/or via Defendants’ respective payee, 6 which are

identified on Schedule “A” hereto. 7 (See id.) At the conclusion of the process, the detailed web

page captures 8 and images of the various Plaintiffs’ branded products ordered via Defendants’

Subject Domain Name and Seller IDs were sent to Plaintiffs’ representative, Paul Cole, for

inspection. (See Cole Decl. ¶ 18; Gaffigan Decl. ¶ 2.)

       Plaintiffs’ representative reviewed and visually inspected the detailed web page captures

reflecting Plaintiffs’ branded products Invisible ordered from Defendants through the Internet

website and Internet based e-commerce stores operating under their respective Subject Domain

Name and Sellers IDs, and determined the products were not genuine versions of Plaintiffs’

goods. (See Cole Decl. ¶¶ 18-20.)




Transaction Identification Number (“Transaction ID”) for the purchase made from this
Defendant’s Seller IDs, and PayPal is able to identify a PayPal account using the Transaction ID.
(See Burns Decl. ¶ 4, n.4.)
6
  The payee for the orders placed from Defendant Numbers 79-105 identifies “Joom USA Inc,”
which is the aggregate PayPal account for purchases made via Joom.com. (See Burns Decl. ¶ 4
n.5; Gaffigan Decl. ¶ 8.) The Joom.com platform itself is not the ultimate merchant, but it can
tie a particular Seller ID using the seller’s unique merchant identification number to a reported
transaction and identify the merchant’s funds held within the aggregate account. (See Gaffigan
Decl. ¶ 8.)

The payee for the orders placed from Defendant Numbers 106-109’s Wish.com Seller IDs
identifies “PayPal *Wish,” which is the aggregate PayPal account for purchases made Wish.com.
(See Burns Decl. ¶ 4 n.5; Gaffigan Decl. ¶ 9.) The Wish.com platform itself is not the ultimate
merchant, but it can tie a particular Seller ID using the seller’s unique merchant identification
number to a reported transaction and identify the merchant’s funds held within the aggregate
account. (See Gaffigan Decl. ¶ 9.)
7
 Defendant Number 1 also provided a contact e-mail address in connection with its Subject
Domain Name, which is included on Schedule “A” hereto. (See Burns Decl. ¶ 4 n.6.)
8
 The web pages captured and downloaded by Plaintiffs’ counsel’s office, Stephen M. Gaffigan,
P.A., identifying the Seller Identification Number, Store Name and/or Store Number for certain
Defendants are included in Comp. Exs. “2,” “3” and “5” to the Burns Decl.
                                                9
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                                        II.   Legal Standard

       In order to obtain a temporary restraining order, a party must demonstrate “(1) [there is] a

substantial likelihood of success on the merits; (2) that irreparable injury will be suffered if the

relief is not granted; (3) that the threatened injury outweighs the harm the relief would inflict on

the non-movant; and (4) that the entry of the relief would serve the public interest.” Schiavo ex.

rel Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005); see also Levi Strauss & Co.

v. Sunrise Int’l. Trading Inc., 51 F. 3d 982, 985 (11th Cir. 1995) (applying the test to a

preliminary injunction in a Lanham Act case). Additionally, a court may only issue a temporary

restraining order without notice to the adverse party or its attorney if:

                (A) specific facts in an affidavit or a verified complaint clearly show that
                immediate and irreparable injury, loss, or damage will result to the movant
                before the adverse party can be heard in opposition [and] (B) the movant’s
                attorney certifies in writing any efforts made to give notice and the reasons why
                it should not be required.

Fed. R. Civ. P. 65(b)(1). Ex parte temporary restraining orders “should be restricted to serving

their underlying purpose of preserving the status quo and preventing irreparable harm just so

long as is necessary to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Brotherhood

of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cnty, 415 U.S. 423, 439 (1974).

                                      III.    Conclusions of Law

       The declarations Plaintiffs submitted in support of their Ex Parte Application for

Temporary Restraining Order support the following conclusions of law:

        A.     Plaintiffs have a strong probability of proving at trial that consumers are likely to

be confused by Defendants’ advertisement, promotion, sale, offer for sale, or distribution of

goods bearing counterfeits, reproductions, or colorable imitations of Plaintiffs’ Marks, and that

the products Defendants are selling and promoting for sale are copies of Plaintiffs’ products that

bear copies of Plaintiffs’ Marks.

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         B.     Because of the infringement of Plaintiffs’ Marks, Plaintiffs are likely to suffer

immediate and irreparable injury if a temporary restraining order is not granted. The following

specific facts, as set forth in Plaintiffs’ Complaint, Application for Temporary Restraining Order,

and accompanying declarations, demonstrate that immediate and irreparable loss, damage, and

injury will result to the Plaintiffs and to consumers before Defendants can be heard in opposition

unless Plaintiffs’ request for ex parte relief is granted:

                1.      Defendants own or control a commercial Internet website or e-commerce

stores via Internet marketplace platforms operating under their domain name and seller

identification names which advertise, promote, offer for sale, and sell products bearing

counterfeit and infringing trademarks in violation of Plaintiffs’ rights;

                2.      There is good cause to believe that more counterfeit and infringing

products bearing Plaintiffs’ trademarks will appear in the marketplace; that consumers are likely

to be misled, confused, and disappointed by the quality of these products; and that Plaintiffs may

suffer loss of sales for their genuine products; and

                3.      There is good cause to believe that if Plaintiffs proceed on notice to the

Defendants on this Application for Temporary Restraining Order, Defendants can easily and

quickly transfer or modify domain registration or e-commerce store data and content, change

payment accounts, redirect consumer traffic to other domain names and seller identification

names, and transfer assets and ownership of the domain names and seller identification names,

thereby thwarting Plaintiffs’ ability to obtain meaningful relief;

         C.     The balance of potential harm to Defendants in restraining their trade in

counterfeit and infringing branded goods if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiffs, their respective reputations, and their goodwill as

manufacturers and distributors of quality products, if such relief is not issued.

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         D.     The public interest favors issuance of the temporary restraining order to protect

Plaintiffs’ trademark interests and protect the public from being defrauded by the palming off of

counterfeit products as Plaintiffs’ genuine goods.

         E.     Under 15 U.S.C. § 1117(a), Plaintiffs may be entitled to recover, as an equitable

remedy, the illegal profits gained through Defendants’ distribution and sales of goods bearing

counterfeits and infringements of Plaintiffs’ Marks. See Reebok Int’l, Ltd. v. Marnatech Enters.,

Inc., 970 F.2d 552, 559 (9th Cir. 1992) (quoting Fuller Brush Products Co. v. Fuller Brush Co.,

299 F.2d 772, 777 (7th Cir. 1962) (“An accounting of profits under § 1117(a) is not synonymous

with an award of monetary damages: ‘[a]n accounting for profits . . . is an equitable remedy

subject to the principles of equity.’”)).

         F.     Requesting equitable relief “invokes the district court’s inherent equitable powers

to order preliminary relief, including an asset freeze, in order to assure the availability of

permanent relief.” Levi Strauss & Co., 51 F.3d at 987 (citing Federal Trade Commission v.

United States Oil and Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)).

         G.     In light of the inherently deceptive nature of the counterfeiting business, and the

likelihood that Defendants have violated federal trademark laws, Plaintiffs have good reason to

believe Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of this

Court unless those assets are restrained.

        Upon review of Plaintiffs’ Complaint, Application for Temporary Restraining Order, and

supporting evidentiary submissions, it is hereby

        ORDERED that Plaintiffs’ Application for Temporary Restraining Order [DE 6] is

GRANTED, according to the terms set forth below:




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                            TEMPORARY RESTRAINING ORDER

       (1)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

distributors, and all persons in active concert or participation with any Defendant having notice

of this Order are hereby temporarily restrained:

               a. From manufacturing, importing, advertising, promoting, offering to sell,
                  selling, distributing, or transferring any products bearing Plaintiffs’ Marks, or
                  any confusingly similar trademarks, other than those actually manufactured or
                  distributed by the Plaintiffs; and

               b. From secreting, concealing, destroying, selling off, transferring, or otherwise
                  disposing of: (i) any products, not manufactured or distributed by the
                  Plaintiffs, bearing Plaintiffs’ Marks, or any confusingly similar trademarks; or
                  (ii) any evidence relating to the manufacture, importation, sale, offer for sale,
                  distribution, or transfer of any products bearing Plaintiffs’ Marks, or any
                  confusingly similar trademarks; or (iii) any assets or other financial accounts
                  subject to this Order, including inventory assets, in the actual or constructive
                  possession of, or owned, controlled, or held by, or subject to access by, any
                  Defendant, including, but not limited to, any assets held by or on behalf of any
                  Defendant.

       (2)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

distributors, and all persons in active concert or participation with any Defendant having notice

of this Order shall immediately discontinue the use of Plaintiffs’ Marks or any confusingly

similar trademarks, on or in connection with all Internet websites and Internet based e-commerce

stores owned and operated, or controlled by them, including the Internet website and Internet

based e-commerce stores operating under the Subject Domain Name and Seller IDs;

       (3)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

distributors, and all persons in active concert or participation with any Defendant having notice

of this Order shall immediately discontinue the use of Plaintiffs’ Marks, or any confusingly

similar trademarks within metatags or other markers within website source code, from use on

any webpage (including as the title of any web page), from any advertising links to other

websites, from search engines’ databases or cache memory, and any other form of use of such

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terms that are visible to a computer user or serves to direct computer searches to Internet

websites and Internet based e-commerce stores registered, owned, or operated by any Defendant,

including the Internet website and Internet based e-commerce stores operating under the Subject

Domain Name and Seller IDs;

       (4)     Each Defendant shall not transfer ownership of the Internet website or Internet

based e-commerce stores operating under their Subject Domain Name and Seller IDs during the

pendency of this action, or until further order of the Court;

       (5)     Each Defendant shall preserve copies of all computer files relating to the use of

the Internet website and any of the Internet based e-commerce stores operating under their

Subject Domain Name and Seller IDs and shall take all steps necessary to retrieve computer files

relating to the use of the Internet website or Internet based e-commerce stores under their Subject

Domain Name and Seller IDs that may have been deleted before the entry of this Order;

       (6)     Upon receipt of notice of this Order, Defendants and all financial institutions,

payment processors, banks, escrow services, money transmitters, or marketplace platforms,

including but not limited to, Amazon Payments, Inc. (“Amazon”), Dunhuang Group (which

operates the DHgate.com and DHPay.com platforms), Camel FinTech Inc, PayPal, Inc.

(“PayPal”), SIA Joom, which operates the Joom.com platform (“Joom”), ContextLogic, Inc.,

which operates the Wish.com website (“ContextLogic”), and their related companies and

affiliates shall (i) immediately identify all financial accounts and/or sub-accounts, associated

with the Internet website and Internet based e-commerce stores operating under the Subject

Domain Name and Seller IDs, merchant identification numbers, and/or the e-mail addresses

identified on Schedule “A” hereto, as well as any other accounts of the same customer(s); (ii)

identify all other accounts which transfer funds into the same financial institution account(s) or

any of the other financial accounts subject to this Order; (iii) restrain the transfer of all funds, as

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opposed to ongoing account activity, held or received for their benefit or to be transferred into

their respective financial accounts, and any other financial accounts tied thereto; and (iv)

immediately divert those restrained funds to a holding account for the trust of the Court;

       (7)     Upon receipt of notice of this Order, Defendants and all financial institutions,

payment processors, bank, escrow services, money transmitters, or marketplace platforms

receiving notice of this Order, including but not limited to, Amazon, Dunhuang Group, Camel

FinTech Inc, PayPal, Joom, ContextLogic, and their related companies and affiliates, shall

further, within five business days of receiving this Order, provide Plaintiffs’ counsel with

all data that details (i) an accounting of the total funds restrained and identify the financial

account(s) and sub-account(s) which the restrained funds are related to, and (ii) the account

transactions related to all funds transmitted into the financial account(s) and sub-account(s)

which have been restrained. Such restraining of the funds and the disclosure of the related

financial institution account information shall be made without notice to the account owners or

the financial institutions until after those accounts are restrained. No funds restrained by this

Order shall be transferred or surrendered by any financial institution, payment processor, bank,

escrow service, money transmitter, or marketplace website, including but not limited to,

Amazon, Dunhuang Group, Camel FinTech Inc, PayPal, Joom, ContextLogic, and their related

companies and affiliates for any purpose (other than pursuant to a chargeback made

pursuant to their security interest in the funds) without the express authorization of this Court;

       (8)     Any Defendant or financial institution account holder subject to this Order may

petition the Court to modify the asset restraint set out in this Order;

       (9)     This Order shall apply to the Subject Domain Name and Seller IDs, associated

website and e-commerce stores, and any other domain names, websites, seller identification

names, e-commerce stores, or financial accounts which are being used by the Defendants for the

                                                  15
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purpose of counterfeiting Plaintiffs’ Marks at issue in this action and/or unfairly competing with

the Plaintiffs;

           (10)   This Order shall remain in effect until the date for the hearing on the Motion for

Preliminary Injunction set forth below, or until such further dates as set by the Court or

stipulated to by the parties;

                                      BOND TO BE POSTED

           (11)   Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Federal Rule of Civil Procedure 65(c),

Plaintiffs shall post a bond in the amount of Ten Thousand Dollars and Zero Cents ($10,000.00),

as payment of damages to which Defendants may be entitled for a wrongful injunction or

restraint, during the pendency of this action, or until further Order of the Court. In the Court’s

discretion, the bond may be subject to increase should an application be made in the interest of

justice;

                                  PRELIMINARY INJUNCTION

           (12)   A HEARING is set before this Court on Friday, June 12, 2020, at 2:30 P.M., in

Courtroom 205B at the U.S. Courthouse, 299 E. Broward Boulevard, Fort Lauderdale, Florida, at

which time Defendants and/or any other affected persons may challenge the appropriateness of

this Order and move to dissolve the same and at which time the Court will hear argument on

Plaintiffs’ requested preliminary injunction. 9

           (13)   After Plaintiffs’ counsel has received confirmation from the financial institutions

regarding the funds restrained as directed herein, Plaintiffs shall serve a copy of the Complaint,

Application for Temporary Restraining Order, and this Order, on each Defendant by e-mail via



9
  Plaintiffs’ counsel is granted permission to appear at the hearing telephonically. By no later
than June 10, 2020, Plaintiffs’ counsel shall provide the Court with a telephone number where
the Court may reach counsel by telephone at the time of the hearing. For clarity, please do not
use a speaker phone.
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their corresponding e-mail address and/or online contact form provided on the website and e-

commerce stores operating under the respective Subject Domain Name and Seller IDs, or by

providing a copy of this Order by e-mail to the registrar of record for the Subject Domain Name

or the marketplace platforms for each of the Seller IDs so that the registrar and marketplace

platform, in turn, notifies each Defendant of the Order, or by other means reasonably calculated

to give notice which is permitted by the Court. In addition, Plaintiffs shall post copies of the

Complaint, Application for Temporary Restraining Order, and this Order, as well as all other

documents       filed     in     this      action      on       the    website     located      at

http://servingnotice.com/awoa7y/index.html, and shall provide the address to the website to the

Defendants via e-mail/online contact form, and such notice so given shall be deemed good and

sufficient service thereof. Plaintiffs shall continue to provide notice of these proceedings and

copies of the documents on file in this matter to the Defendants by regularly updating the website

located at http://servingnotice.com/awoa7y/index.html, or by other means reasonably calculated

to give notice which is permitted by the Court;

       (14)    Additionally, for the purpose of providing additional notice of this proceeding,

and all other pleadings, orders, and documents filed herein, the owners, operators and/or

administrators of the Internet marketplace websites, and/or financial institutions, payment

processors, banks, escrow services, money transmitters, and marketplace platforms, including

but not limited to Amazon.com, DHgate.com, eBay.com, Joom.com, Wish.com and

ContextLogic, shall, at Plaintiffs’ request, provide Plaintiffs’ counsel with any e-mail address

known to be associated with the Defendants’ respective Seller IDs;

       (15)    Any response or opposition to Plaintiffs’ Motion for Preliminary Injunction must

be filed and served on Plaintiffs’ counsel by June 4, 2020. Plaintiffs shall file any Reply

Memorandum on or before June 8, 2020. The above dates may be revised upon stipulation by all

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parties and approval of this Court. Defendants are hereby on notice that failure to appear at the

hearing may result in the imposition of a preliminary injunction against them pursuant to 15

U.S.C. § 1116(d), Fed. R. Civ. P. 65, The All Writs Act, 28 U.S.C. § 1651(a), and this Court’s

inherent authority.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

this 21st day of May, 2020.




Copies provided to:
Counsel of Record




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                                   SCHEDULE A:
                         DEFENDANTS BY NUMBER, SELLER ID,
           ASSOCIATED FINANCIAL ACCOUNTS AND ADDITIONAL E-MAIL ADDRESS


Def. No.     Defendant / Seller ID        Financial Account Information      Additional E-Mail Address

   1       merchclan.com                phamngocbich27060@gmail.com         support@merchclan.com
   2       Alimalalisai                 A300CFBDH69OG1
   3       BayBiGO                      A219XDZ2LMV2WN
   4       Dean Carnegie                A2J9MHTG1KPIDZ
   5       Dick Church                  A18NAJBQ54GGV0
   6       EarBell                      A1BHFGCJ0ES7JV
   7       Eastern Cowboy               A1T1M6SMLCQDJ2
   8       Geralry                      A2AURW80L41FGB
   9       Giieena                      AAXBIB59PYCZX
           jiningjintaihedianzishangw
  10       uyouxiangongsi               AZHN6KGYOITZZ
           junlianxianpeixianbaihuodi
  11       an                           A1M1ZJ0OWX0MXE
  12       Kingreat                     A38Q90S4MK3W0
  13       Koongso                      A2XFZTCE7XHII8
  14       LAVYINGYUSA                  AH3JNM3ZN1B45
  15       Lemonran                     AZ32M0N64H7KA
  16       li liangshengsdfrtdf         AK2GR196NUQLP
  17       liqiqimaoyouxiangongsi       A3AJ3DLY8J8GVW
  18       longjia917024                A3HA3Q20CFBWOW
  19       Magices                      A1U2TVYBMOD9F0
  20       MARI DM                      A188J7CGR17RKI
  21       shangzuo                     AAGI6NEOD1J8E
  22       skdj                         A15JJ24YYL2RCM
  23       SPbSj                        AQ7Q1N7UDCQI3
  24       TOMFOXS                      A5TK1M2E0IFQY
  25       Toresia                      A3SVZYLKVDJRY3

                                                   19
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26   UJJERYTOW                  A3BXLWNP6MZ0EG
27   xuankeke                   A2A8H7AJPKQ9XV
     yi chang ding cai zhuang
28   shi gong cheng you xian    A3BSK2K9NXYLEC
29   zhendian                   AH86M0WZOMYRM
30   Amaz2016                   20279261
31   Bapeaape                   20569870
32   Cloth_mall                 20994301
33   Cnkk                       21092061
34   Cooposc                    21227252
35   Designlife                 20800367
36   Dh_kenzo                   21227254
37   Dododi                     20968960
38   fishclub                   21185153
39   giantcutedepartments       21081345
40   Good_babyclothes           20608955

41   H_ss                       19312457
42   Iiceef                     21227651
43   Ktmsky                     21176071
44   liqyi0304                  20471186
45   Malleight                  20451232
46   Memell                     21226975
47   Popooi                     21141938
48   shangshenglingshig         20549067

49   Sunflower_fz               20996077
50   Tt_lady                    21065021
51   Vipvood                    21227130
52   Vogocm55                   20899187

53   Yanliw123                  16213451
54   basap-37                   hahajuity@gmail.com

                                            20
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55   ca1862                pakcamat0011@gmail.com
56   charity_79            charityburris55@gmail.com
57   cvcvx_1               dewiriana898@gmail.com
58   dadandodo0            dadangdodot679@gmail.com
59   dayrifa_0             dayu7820@gmail.com
60   deyfdidi0             deyfadidit453@gmail.com
61   dipras23              dimasprasetya56@hotmail.com
62   diyamay-0             diyanmaya67@gmail.com
63   gunjae-0              gunturjaelani88@gmail.com
64   id2015.berl           adeliaberlian@yahoo.com
65   jokpel-0              jokopelo209@gmail.com
66   joobla-8              oblak6223@gmail.com
67   latif45               happykamudan@gmail.com
68   marketdaymarketday    Transaction ID:44P28451KL3153647
69   nanankose0            nanangkosem6675@gmail.com
70   nguybich65            aduong15987@gmail.com
71   rizfatu_0             rizafatur688@gmail.com

72   rudiyantputr-0        rudiyantoputra21@gmail.com
73   sajiw_0               bagussajiwo138@gmail.com

74   yaanrro_0             iyo.tai89@gmail.com

75   yogsetiawa_1          setiawanyoga016@gmail.com
76   yongpinlon0           dragon1yp@163.com
77   yumanugroh_0          yumannugroho21@gmail.com
78   zitnala-0             zitnialam547@gmail.com
79   Arbutus               5b51a4768b2c370353deec85
80   Atlanta               5af010f08b2c3703f45133b3
81   Barcelona             5af0125c8b45130383483ad3
82   Beagirl               5b8e1e408b451303f398c65c
83   Bluebell              5b51a4c01436d40366ca9a53

                                       21
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84    Cairo                 5af013558b2c3703f451678e
85    DC Shoes              5be2d6518b4513034ead677e
86    Dream Back KiD        5ddf3e1b28fc710301cb951f
87    Dublin                5af012f01436d40316ece4c7
88    EnjoyLi               5c9351091436d4030152564c
89    Gnbu1                 5dd3affc8b2c370301901b46
90    Golden Bamboo         5b51a25a8b451303bc8c1ad7
91    Houston               5af0110c8b451303834829ca
92    Istanbul              5af012681436d40316ecc871
93    Milan                 5af010491436d40316ec71a8
94    Mint                  5b51a26f8b451303bc8c1bb2
95    Morning Glory-43      5b51a7c08b451303bc8c716b
96    Munich                5af010cd8b2c3703f4513196
97    NMUM                  5d9b514136b54d03012b9ad9
98    QWA327                5e0aa2b08b2c3703019f66fc
99    San Diego             5af012038b45130383483470
                            1510907051958937023-153-3-26193-
100   sanjose               734915978
101   Star Cluster          5b51a3131436d40366ca872e
102   Taraxacum-50          5b51acad1436d40366cb145d
103   Tiger Lily-49         5b51ac558b451303bc8caf22
104   Vienna                5af010018b2c3703f450dd4c
105   Warsaw                5af011618b2c3703f45138b9
106   lucky and happy       5e09cdcae0e2e0098eb668f4
107   luoshuanglin0812      5e0dd94ca577533230033073
108   marinaallenshop       59dba4be15da0767683bb10b
109   Tobeno1shop           59f88ab368788b1a4c181ee5




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 20-60982-CIV-DIMITROULEAS/SNOW

APPLE CORPS LIMITED and SUBAFILMS
LIMITED,

               Plaintiffs,
vs.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

               Defendants.
                                                /

       SEALED ORDER AUTHORIZING ALTERNATE SERVICE OF PROCESS ON
      DEFENDANTS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(f)(3)

        THIS CAUSE is before the Court upon Plaintiffs’ Ex Parte Motion for Order

Authorizing Alternate Service of Process on Defendants Pursuant to Federal Rule of Civil

Procedure 4(f)(3) (the “Motion”) [DE 7], filed herein on May 20, 2020. The Court has carefully

considered the Motion and is otherwise fully advised in the premises.

        Plaintiffs seek an order granting alternative service of process on the Defendants in this

action, all of which are foreign. Plaintiffs allege that Defendants have established Internet-based

businesses and utilize electronic means as reliable forms of contact. Therefore, Plaintiffs seek to

serve these Defendants by both e-mail and website posting.

        Rule 4(h)(2) for the Federal Rules of Civil Procedure (the “Rules”) defines the contours

of service upon foreign corporations and incorporates the service methods set forth regarding

individuals in Rule 4(f). Rule 4(f)(3), in turn, provides that service may be accomplished “by

other means not prohibited by international agreement, as the court orders.” Alternative methods

of service under Rule 4(f)(3) are available without first attempting service by other means. Rio
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Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1015 (9th Cir. 2002). “So especially in a

circumstance where service upon a foreign corporation under Rule 4(f)(1) or 4(f)(2) has been

cumbersome, district courts have broad discretion under Rule 4(f)(3) to authorize other methods

of service that are consistent with due process and are not prohibited by international

agreements.” Brookshire Brothers, Ltd. v. Chiquita Brands Int’l, Inc., Case No. 05-CIV-21962,

2007 WL 1577771, at *2 (S.D. Fla. May 31, 2007) (citing Prewitt Enters., Inc. v. Org. of

Petroleum Exporting Countries, 353 F.3d 916, 921, 927 (11th Cir. 2003)).

       For the following reasons, the Court finds that alternative service of process under Rule

4(f)(3) is warranted. First, the Hague Convention does not specifically preclude service by e-mail

and website posting. Where a signatory nation has objected to the alternative means of service

provided by the Hague Convention, that objection is expressly limited to those means and does

not represent an objection to other forms of service, such e-mail or website posting. Stat Med.

Devices, Inc. v. HTL-Strefa, Inc., Case No. 15-cv-20590-FAM, 2015 U.S. Dist. LEXIS 122000

(S.D. Fla. Sept. 14, 2015) (noting that an objection to the alternative forms of service set forth in

the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

Commercial Matters, Nov. 15, 1965, 658 U.N.T.S. 16, is limited to the specific forms of service

objected to). A court acting under Rule 4(f)(3) therefore remains free to order alternative means

of service where a signatory nation has not expressly objected to those means. See Gurung v.

Malhotra, 279 F.R.D. 215, 219 (S.D.N.Y. 2011). Accordingly, the requested service methods are

not prohibited by international agreement.

       Second, Defendants have at least one known and valid form of electronic contact, and

Plaintiffs have created a website for the sole purpose of providing notice of this action to

Defendants, the address to which will be provided to Defendants’ known e-mail accounts and

onsite contact forms. Therefore, service via e-mail and through website posting is “reasonably

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calculated, under all circumstances, to apprise [Defendants] of the pendency of the action and

afford them an opportunity to present their objections.” See Brookshire Brothers, Ltd., 2007 WL

1577771, at *1. Thus, the Court will exercise its discretion to allow service on Defendants

through e-mail and website posting.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

       1.     The Motion [DE 7] is hereby GRANTED;

       2.     Pursuant to Rule 4(f)(3), Plaintiffs are permitted to serve the Summonses,

              Complaint, and all other filings and discovery in this matter upon each Defendant:

                  a. by providing the address to Plaintiffs’ designated serving notice website to

                      Defendants via the e-mail accounts provided by each Defendant as part of

                      the data related to its e-commerce store or website, including customer

                      service e-mail addresses and onsite contact forms, or via the e-commerce

                      platform e-mail for each of the e-commerce stores or registrar of record

                      for the domain name. See Schedule “A” attached to the Motion [DE 7],

                      which lists Defendants’ Subject Domain Name and Seller IDs and

                      associated means of contact; and

                  b. by publicly posting a copy of the Summonses, Complaint, and all

                      filings and discovery in this matter on Plaintiffs’ designated serving notice

                      website appearing at http://servingnotice.com/awoa7y/index.html.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

this 21st day of May, 2020.




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Counsel of Record




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                 CASE NO. 20-60982-CIV-DIMITROULEAS/SNOW

   APPLE CORPS LIMITED and SUBAFILMS
   LIMITED,

                  Plaintiffs,
   vs.

   MERCHCLAN.COM, et al.,

                  Defendants.
                                                    /

    ORDER GRANTING APPLICATION FOR ENTRY OF PRELIMINARY INJUNCTION

          THIS CAUSE came before the Court upon Plaintiffs’ Application for Entry of

   Preliminary Injunction (the “Application”) [DE 6]. The Court has carefully reviewed the

   Application and the record and is otherwise fully advised in the premises.

          By the instant Application, Plaintiffs, Apple Corps Limited and Subafilms Limited

   (collectively “Plaintiffs”) move for entry of a preliminary injunction against Defendants, the

   Individuals, Partnerships, and Unincorporated Associations Identified on Schedule “A” hereto

   (collectively “Defendants”), pursuant to 15 U.S.C. § 1116 and Fed. R. Civ. P. 65, and The All

   Writs Act, 28 U.S.C. § 1651(a).

          The Court convened a hearing on June 12, 2020, at which only counsel for Plaintiffs was

   present and available to present evidence supporting the Application. Because Plaintiffs have

   satisfied the requirements for the issuance of a preliminary injunction, the Court will now grant

   Plaintiffs’ Application for Preliminary Injunction as to all Defendants.
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                                     I.       Factual Background 1

          Plaintiff, Apple Corps Limited, is the registered owner of the following trademarks,

   which are valid and registered on the Principal Register of the United States Patent and

   Trademark Office (the “BEATLES Marks”):


                     Registration         Registration
   Trademark                                                          Class(es) / Good(s)
                      Number                 Date
                                                          IC 014 - Watches.

                                          February 16,    IC 018 - Wallets
  THE BEATLES          1,752,120
                                             1993
                                                          IC 025 - Headwear, sweatshirts, t-shirts,
                                                          shirts.
                                                          IC 009 - Computer keyboard accessories,
                                                          namely mouse pads and wrist rests in the
                                                          form of pads for use with computers;
                                                          telephone apparatus, namely, telephones;
                                                          telephone receivers, telephone answering
                                                          machines, mobile telephones; cases for
                                                          mobile telephones; cell phone covers;
                                                          covers for mobile telephones, namely,
                                                          fitted plastic films known as skins for
                                                          covering and protecting electronic
                                                          apparatus in the nature of mobile
       BEATLES         4,373,956          July 30, 2013
                                                          telephones; straps for mobile telephones;
                                                          telephone call indicator lights and electro-
                                                          mechanical shakers for detecting and
                                                          signaling incoming telephone calls;
                                                          mechanical and electric egg timers; boxes
                                                          and cases specially adapted for holding
                                                          audio cassettes, video cassettes,
                                                          gramophone records, audio compact discs,
                                                          audio mini discs, video discs, and
                                                          interactive compact discs or cd-roms.



   1
     The factual background is taken from Plaintiffs’ Amended Complaint, Application for
   Preliminary Injunction, and supporting Declarations submitted by Plaintiffs.


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                                                 IC 014 - Jewelry boxes not of metal,
                                                 including ceramic and porcelain jewelry
                                                 boxes for trinkets; jewelry; horological and
                                                 chronometric instruments, namely,
                                                 watches and clocks; watch straps, cuff
                                                 links, brooches, bracelets, bangles,
                                                 earrings, pendants, medallions, trinkets
                                                 being jewelry, charms being jewelry, rings
                                                 being jewelry, tie pins, jewelers
                                                 ornamental tie pins, lapel pins, tie clips,
                                                 collectible non-monetary coins,
                                                 ornamental pins; articles of precious metal
                                                 and their alloys, and articles coated with
                                                 precious metal and their alloys, namely,
                                                 belt buckles for clothing, coasters, jewelry
                                                 boxes, key rings, key chains; hat and shoe
                                                 ornaments and key fobs all of precious
                                                 metal; rings being jewelry; ornamental
                                                 pins; cigarette and cigar cases; precious
                                                 stones; semi-precious stones; statuettes
                                                 and figurines of precious metal or precious
                                                 stone or coated therewith; scale model
                                                 vehicles, ships or submarines all made
                                                 from, or coated with precious metal or
                                                 precious stone.

                                                 IC 016 - Posters; prints, namely,
                                                 photograph prints and pictorial prints;
                                                 pictures; art prints and framed art prints;
                                                 framed and unframed pictorial prints,
                                                 cartoon prints, lithographic prints, color
                                                 prints,   caricature    prints,   computer
                                                 generated pictorial prints, and black and
                                                 white, and color prints featuring hidden or
                                                 three dimensional images; paper desk
                                                 mats; pen and pencil cases; pen and pencil
                                                 boxes; pen and pencil holders; drawing
                                                 rulers; erasers; printed paper embroidery
                                                 design patterns; sewing patterns for
                                                 making clothes, knitting patterns. iron-on



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                                                 transfers for decorating textiles; printed
                                                 wall charts; paperweights, not of precious
                                                 metal; babies' bibs of paper; bookmarks;
                                                 passport holders all made from leather or
                                                 imitation leather; pencil cases, notelets and
                                                 autograph books; reusable textile lunch
                                                 bags; reusable plastic shopping bags.

                                                 IC 018 - Goods made from leather or
                                                 imitation leather, namely, waist pouches
                                                 for carrying purses and wallets; luggage,
                                                 carry on traveling bags, clutch bags,
                                                 trunks, business card cases, rucksacks,
                                                 backpacks, purses, wallets, key cases,
                                                 luggage tags; billfolds, leather key fobs,
                                                 key cases, umbrellas; bags, namely,
                                                 handbags, shoulder bags, all purpose
                                                 sports bags, barrel bags, carry-on flight
                                                 bags, and duffel bags, suitcases, attaché
                                                 cases, school bags, satchels, gym bags,
                                                 beach bags and credit card cases; hand
                                                 carry overnight cases of metal, plastic or
                                                 resin; tote bags, including metal totes;
                                                 textile shopping bags; identity card holders
                                                 of leather and imitations of leather.

                                                 IC 021 – Drinking vessels, namely,
                                                 glasses, mugs, jugs, and tankards not of
                                                 precious metal; bottles, namely, seltzer
                                                 bottles for use as barware, sport bottles
                                                 sold empty, and vacuum bottles; insulated
                                                 bottles, namely, thermal insulated bottles
                                                 and flasks for beverages.

                                                 IC 024 - Decorative window curtains of
                                                 wood, reed, bamboo, beads or plastic;
                                                 household linen; bed linen; bedspreads;
                                                 table linen; table cloths not of paper; table
                                                 mats not of paper; textile table napkins;
                                                 coasters made of table linen or textile;



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                                                          unfitted fabric furniture covers; bed sheets,
                                                          pillow cases, duvet covers; towels; face
                                                          towels; face washing cloths; curtains; wall
                                                          hanging of textile; cloth banners; cloth
                                                          bunting; cloth flags; handkerchiefs;
                                                          cushion covers; pre-cut textiles for making
                                                          into cushions and cushion covers; traced
                                                          cloths for embroidery.

                                                          IC 025 - Footwear and headgear, namely,
                                                          hats and caps; clothing, namely, shirts,
                                                          polo shirts, T-shirts, sweatshirts;
                                                          sweatpants; jackets, coats; pullovers; vests;
                                                          articles of underclothing, namely,
                                                          underwear; shorts; scarves; silk pocket
                                                          squares; neck-ties; braces in the nature of
                                                          suspenders; belts; socks; long-sleeved
                                                          shirts and long sleeved T-shirts; silk
                                                          scarves; silk scarves in the shape of
                                                          squares for wearing over the head or
                                                          around the neck; pants; fleece tops;
                                                          thermal tops; jerseys; baseball jerseys;
                                                          hockey jerseys; sweaters; tank tops;
                                                          waistcoats; trousers; golf shirts; golf pants;
                                                          golf shoes; swim wear; beachwear; night
                                                          gowns; pajamas; dressing gowns;
                                                          bathrobes; bathing caps; head bands;
                                                          slippers; beach shoes; sandals; clothing for
                                                          toddlers, infants and babies, namely,
                                                          rompers, shortalls, babies' sleep suits;
                                                          cloth babies' bibs.

   (See Declaration of Paul Cole in Support of Plaintiffs’ Application for Preliminary Injunction

   (Cole Decl.”) ¶¶ 4-5; see also United States Trademark Registrations of the BEATLES Marks at

   issue attached as Composite Exhibit 1 to the Amended Complaint.) The BEATLES Marks are

   used in connection with the manufacture and distribution of quality goods in the categories

   identified above. (See id. ¶¶ 4-5.)



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          Plaintiff, Subafilms Limited, is the registered owner of the following trademark, which is

   valid and registered on the Principal Register of the United States Patent and Trademark Office

   (the “YELLOW SUBMARINE Mark”):


                                   Registration       Registration
           Trademark                                                        Class(es) / Good(s)
                                    Number               Date


                                                                     IC 009 - Musical sound and video
                                                                     recordings; gramophone records
                                                                     featuring music; audio compact
                                                                     discs featuring music; computer
                                                                     game software; video game
                                                                     software; interactive
                                                                     entertainment software for
                                                                     generating games, puzzles,
                                                                     images, musical entertainment,
                                                                     visual entertainment or movie
                                                                     clips; sunglasses; eyeglass cases;
                                                                     magnets; fridge magnets; mouse
                                                                     pads being accessories for
                                                                     keyboards; telephone apparatus,
                                                      November 6,    namely, covers for mobile
                                    3,328,170
                                                         2007        telephones; straps for mobile
                                                                     telephones; and downloadable
                                                                     sound and video records featuring
                                                                     music, musicians, caricatures,
                                                                     cartoons, animation, movie clips,
                                                                     album art or music memorabilia
                                                                     images provided over broadcast,
                                                                     communications, satellite and
                                                                     computer networks.

                                                                     IC 025 - Footwear; shirts; polo
                                                                     shirts; t-shirts; long-sleeved shirts
                                                                     and long-sleeved t-shirts;
                                                                     sweatshirts; jackets; pullovers;
                                                                     vests; scarves; pocket squares
                                                                     made of silk; neck-ties; hats; caps;


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                                    Registration        Registration
           Trademark                                                          Class(es) / Good(s)
                                     Number                Date

                                                                       sock; thermal tops; jerseys;
                                                                       sweaters; tank tops; pajamas;
                                                                       clothing for toddlers, infants and
                                                                       babies namely, one-piece
                                                                       garments for infants and toddlers,
                                                                       sleep suits, t-shirts and long-
                                                                       sleeved t-shirts.

   (See Cole Decl. ¶¶ 10-11; see also United States Trademark Registrations of the YELLOW

   SUBMARINE Mark at issue attached as Composite Exhibit 2 to the Amended Complaint.) The

   YELLOW SUBMARINE Mark is used in connection with the manufacture and distribution of

   quality goods in the categories identified above. (See id.)

          Defendants, by operating a commercial Internet website under the domain name or e-

   commerce stores via the Internet marketplace platforms under their seller identification names

   identified on Schedule “A” hereto (the “Subject Domain Name and Seller IDs”), have advertised,

   promoted, offered for sale, or sold goods bearing what Plaintiffs have determined to be

   counterfeits, infringements, reproductions and/or colorable imitations of the BEATLES Marks

   and/or the YELLOW SUBMARINE Mark (collectively “Plaintiffs’ Marks”). (See Cole Decl. ¶¶

   16-20; Declaration of Stephen M. Gaffigan in Support of Plaintiffs’ Application for Preliminary

   Injunction (“Gaffigan Decl.”) ¶ 2; Declaration of Kathleen Burns in Support of Plaintiffs’

   Application for Preliminary Injunction (Burns Decl.”) ¶ 4.)

          Although each Defendant may not copy and infringe each of Plaintiffs’ Marks for each

   category of goods protected, Plaintiffs have submitted sufficient evidence showing that each

   Defendant has infringed, at least, one or more of Plaintiffs’ Marks. (See Cole Decl. ¶¶ 16-20.)

   Defendants are not now, nor have they ever been, authorized or licensed to use, reproduce, or



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   make counterfeits, reproductions, or colorable imitations of Plaintiffs’ Marks. (See id. ¶¶ 16, 18-

   20, 23.)

          Plaintiffs’ counsel retained Invisible Inc (“Invisible”), a licensed private investigative

   firm, to investigate the promotion and sale of counterfeit and infringing versions of Plaintiffs’

   branded products by Defendants and to obtain the available payment account data for receipt of

   funds paid to Defendants for the sale of counterfeit versions of Plaintiffs’ branded products. (See

   Cole Decl. ¶ 17; Burns Decl. ¶ 3; Gaffigan Decl. ¶ 2.) Invisible accessed Internet website and

   Internet based e-commerce stores operating under the Subject Domain Name and Seller IDs and

   placed orders from each Defendant for the purchase of various products, all bearing counterfeits

   of, at least, one of Plaintiffs’ trademarks at issue in this action, and requested each product to be

   shipped to Invisible’s address in the Southern District of Florida. (See Burns Decl. ¶ 4 and

   Comp. Exs. 1 through 6 thereto.) Each order was processed entirely online, and following the

   submission of the orders, Invisible received information for finalizing payment 2 for the various

   products ordered via Amazon Payments, Inc., 3 via DHpay.com, 4 via PayPal, Inc. (“PayPal”) 5 to


   2
    Invisible was instructed not to transmit the funds to finalize the sale for the orders from some of
   the Defendants so as to avoid adding additional funds to Defendants’ coffers. (See Gaffigan
   Decl. ¶ 2, n.1; Burns Decl. ¶ 4, n.1.)
   3
     Amazon is an e-commerce marketplace that allows Defendants to conduct their commercial
   transactions privately via Amazon’s payment processing and retention service, Amazon
   Payments, Inc. As such, Defendants’ payment information is not publicly disclosed, but Amazon
   Payments, Inc. has the ability to identify and restrain the payment accounts using a seller’s
   unique seller identification number. (See Gaffigan Decl. ¶ 5; Burns Decl. ¶ 4, n.2.)
   4
    Defendant Numbers 30-53 use the non-party e-commerce marketplace platform, DHgate.com,
   which processes its payments via the third-party platform, DHpay.com. The DHgate.com and
   DHpay.com platforms are operated by the Dunhuang Group, who utilizes Camel FinTech Inc to
   process transactions and deal with refunds and chargebacks on behalf of DHgate.com to its
   customers. (See Burns Decl. ¶ 4, n.3; Gaffigan Decl. ¶ 6.)
   5
     Upon completion of Invisible’s purchase from Defendant Number 68 operating via eBay.com,
   Invisible discovered that the PayPal receipt received did not identify the Defendant’s PayPal


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   Defendants’ respective PayPal accounts and/or via Defendants’ respective payee, 6 which are

   identified on Schedule “A” hereto. 7 (See id.) At the conclusion of the process, the detailed web

   page captures 8 and images of the various Plaintiffs’ branded products ordered via Defendants’

   Subject Domain Name and Seller IDs were sent to Plaintiffs’ representative, Paul Cole, for

   inspection. (See Cole Decl. ¶ 18; Gaffigan Decl. ¶ 2.)

          Plaintiffs’ representative reviewed and visually inspected the detailed web page captures

   reflecting Plaintiffs’ branded products Invisible ordered from Defendants through the Internet

   website and Internet based e-commerce stores operating under their respective Subject Domain

   Name and Sellers IDs, and determined the products were not genuine versions of Plaintiffs’

   goods. (See Cole Decl. ¶¶ 18-20.)



   financial account in the form of an e-mail address. However, the receipt identifies the
   Transaction Identification Number (“Transaction ID”) for the purchase made from this
   Defendant’s Seller IDs, and PayPal is able to identify a PayPal account using the Transaction ID.
   (See Burns Decl. ¶ 4, n.4.)
   6
     The payee for the orders placed from Defendant Numbers 79-105 identifies “Joom USA Inc,”
   which is the aggregate PayPal account for purchases made via Joom.com. (See Burns Decl. ¶ 4
   n.5; Gaffigan Decl. ¶ 8.) The Joom.com platform itself is not the ultimate merchant, but it can
   tie a particular Seller ID using the seller’s unique merchant identification number to a reported
   transaction and identify the merchant’s funds held within the aggregate account. (See Gaffigan
   Decl. ¶ 8.)

   The payee for the orders placed from Defendant Numbers 106-109’s Wish.com Seller IDs
   identifies “PayPal *Wish,” which is the aggregate PayPal account for purchases made Wish.com.
   (See Burns Decl. ¶ 4 n.5; Gaffigan Decl. ¶ 9.) The Wish.com platform itself is not the ultimate
   merchant, but it can tie a particular Seller ID using the seller’s unique merchant identification
   number to a reported transaction and identify the merchant’s funds held within the aggregate
   account. (See Gaffigan Decl. ¶ 9.)
   7
    Defendant Number 1 also provided a contact e-mail address in connection with its Subject
   Domain Name, which is included on Schedule “A” hereto. (See Burns Decl. ¶ 4 n.6.)
   8
    The web pages captured and downloaded by Plaintiffs’ counsel’s office, Stephen M. Gaffigan,
   P.A., identifying the Seller Identification Number, Store Name and/or Store Number for certain
   Defendants are included in Comp. Exs. “2,” “3” and “5” to the Burns Decl.


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          On May 19, 2020, Plaintiffs filed their Complaint [DE 1] and thereafter their Amended

   Complaint on June 1, 2020 [DE 18] against Defendants for federal trademark counterfeiting and

   infringement, false designation of origin, common law unfair competition, and common law

   trademark infringement. On May 20, 2020, Plaintiffs filed their Ex Parte Application for Entry

   of Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer of

   Assets [DE 6]. On May 21, 2020, this Court entered an Order Granting Ex Parte Application for

   Entry of Temporary Restraining Order (the “TRO”) [DE 9] and temporarily restrained

   Defendants from infringing Plaintiffs’ Marks at issue. Pursuant to the Court’s May 21, 2020

   TRO, Plaintiffs properly served Defendants with a copy of the Amended Complaint, and all

   filings in this matter, and the Court’s May 21, 2020 TRO [see DE Nos. 21 and 22]. On June 12,

   2020, the Court conducted a hearing on Plaintiffs’ Application, at which only counsel for

   Plaintiffs was in attendance.

                                          II.   Legal Standard

          In order to obtain a preliminary injunction, a party must demonstrate “(1) [there is] a

   substantial likelihood of success on the merits; (2) that irreparable injury will be suffered if the

   relief is not granted; (3) that the threatened injury outweighs the harm the relief would inflict on

   the non-movant; and (4) that the entry of the relief would serve the public interest.” Schiavo ex.

   rel Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005); see also Levi Strauss & Co.

   v. Sunrise Int’l. Trading Inc., 51 F. 3d 982, 985 (11th Cir. 1995) (applying the test to a

   preliminary injunction in a Lanham Act case).




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                                          III.   Conclusions of Law

           The declarations Plaintiffs submitted in support of their Application for Preliminary

   Injunction support the following conclusions of law:

               A.   Plaintiffs have a strong probability of proving at trial that consumers are likely to

   be confused by Defendants’ advertisement, promotion, sale, offer for sale, or distribution of

   goods bearing counterfeits, reproductions, or colorable imitations of Plaintiffs’ Marks, and that

   the products Defendants are selling and promoting for sale are copies of Plaintiffs’ products that

   bear copies of Plaintiffs’ Marks.

               B.   Because of the infringement of Plaintiffs’ Marks, Plaintiffs are likely to suffer

   immediate and irreparable injury if a preliminary injunction is not granted. The following

   specific facts, as set forth in Plaintiffs’ Amended Complaint, Application for Preliminary

   Injunction, and accompanying declarations, demonstrate that immediate and irreparable loss,

   damage, and injury will result to the Plaintiffs and to consumers because it is more likely than

   not that:

                    1.     Defendants own or control a commercial Internet website or e-commerce

   stores via Internet marketplace platforms operating under their domain name and seller

   identification names which advertise, promote, offer for sale, and sell products bearing

   counterfeit and infringing trademarks in violation of Plaintiffs’ rights; and

                    2.     There is good cause to believe that more counterfeit and infringing

   products bearing Plaintiffs’ trademarks will appear in the marketplace; that consumers are likely

   to be misled, confused, and disappointed by the quality of these products; and that Plaintiffs may

   suffer loss of sales for their genuine products.




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            C.     The balance of potential harm to Defendants in restraining their trade in

   counterfeit and infringing branded goods if a preliminary injunction is issued is far outweighed

   by the potential harm to Plaintiffs, their respective reputations, and their goodwill as

   manufacturers and distributors of quality products, if such relief is not issued.

            D.     The public interest favors issuance of the preliminary injunction to protect

   Plaintiffs’ trademark interests and protect the public from being defrauded by the palming off of

   counterfeit products as Plaintiffs’ genuine goods.

            E.     Under 15 U.S.C. § 1117(a), Plaintiffs may be entitled to recover, as an equitable

   remedy, the illegal profits gained through Defendants’ distribution and sales of goods bearing

   counterfeits and infringements of Plaintiffs’ Marks. See Reebok Int’l, Ltd. v. Marnatech Enters.,

   Inc., 970 F.2d 552, 559 (9th Cir. 1992) (quoting Fuller Brush Products Co. v. Fuller Brush Co.,

   299 F.2d 772, 777 (7th Cir. 1962) (“An accounting of profits under § 1117(a) is not synonymous

   with an award of monetary damages: ‘[a]n accounting for profits . . . is an equitable remedy

   subject to the principles of equity.’”)).

            F.     Requesting equitable relief “invokes the district court’s inherent equitable powers

   to order preliminary relief, including an asset freeze, in order to assure the availability of

   permanent relief.” Levi Strauss & Co., 51 F.3d at 987 (citing Federal Trade Commission v.

   United States Oil and Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)).

            G.     In light of the inherently deceptive nature of the counterfeiting business, and the

   likelihood that Defendants have violated federal trademark laws, Plaintiffs have good reason to

   believe Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of this

   Court unless those assets are restrained.




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          Upon review of Plaintiffs’ Amended Complaint, Application for Preliminary Injunction,

   and supporting evidentiary submissions, it is hereby

          ORDERED that Plaintiffs’ Application for Preliminary Injunction [DE 6] is GRANTED,

   according to the terms set forth below:

          (1)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice

   of this Order are hereby restrained and enjoined until further Order of this Court:

                  a. From manufacturing, importing, advertising, promoting, offering to sell,
                     selling, distributing, or transferring any products bearing Plaintiffs’ Marks, or
                     any confusingly similar trademarks, other than those actually manufactured or
                     distributed by the Plaintiffs; and

                  b. From secreting, concealing, destroying, selling off, transferring, or otherwise
                     disposing of: (i) any products, not manufactured or distributed by the
                     Plaintiffs, bearing Plaintiffs’ Marks, or any confusingly similar trademarks; or
                     (ii) any evidence relating to the manufacture, importation, sale, offer for sale,
                     distribution, or transfer of any products bearing Plaintiffs’ Marks, or any
                     confusingly similar trademarks; or (iii) any assets or other financial accounts
                     subject to this Order, including inventory assets, in the actual or constructive
                     possession of, or owned, controlled, or held by, or subject to access by, any
                     Defendant, including, but not limited to, any assets held by or on behalf of any
                     Defendant.

          (2)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice

   of this Order shall immediately discontinue, until further Order of this Court, the use of

   Plaintiffs’ Marks or any confusingly similar trademarks, on or in connection with all Internet

   websites and Internet based e-commerce stores owned and operated, or controlled by them,

   including the Internet website and Internet based e-commerce stores operating under the Subject

   Domain Name and Seller IDs;




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          (3)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice

   of this Order shall immediately discontinue, until further Order of this Court, the use of

   Plaintiffs’ Marks, or any confusingly similar trademarks within metatags or other markers within

   website source code, from use on any webpage (including as the title of any web page), from any

   advertising links to other websites, from search engines’ databases or cache memory, and any

   other form of use of such terms that are visible to a computer user or serves to direct computer

   searches to Internet websites and Internet based e-commerce stores registered, owned, or

   operated by any Defendant, including the Internet website and Internet based e-commerce stores

   operating under the Subject Domain Name and Seller IDs;

          (4)     Each Defendant shall not transfer ownership of the Internet website or Internet

   based e-commerce stores operating under their Subject Domain Name and Seller IDs during the

   pendency of this action, or until further order of the Court;

          (5)     Each Defendant shall continue to preserve copies of all computer files relating to

   the use of the Internet website and any of the Internet based e-commerce stores operating under

   their Subject Domain Name and Seller IDs and shall take all steps necessary to retrieve computer

   files relating to the use of the Internet website or Internet based e-commerce stores under their

   Subject Domain Name and Seller IDs that may have been deleted before the entry of this Order;

          (6)     Upon receipt of notice of this Order, Defendants and all financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to, Amazon Payments, Inc. (“Amazon”), Dunhuang Group (which

   operates the DHgate.com and DHPay.com platforms), Camel FinTech Inc, PayPal, Inc.

   (“PayPal”), SIA Joom, which operates the Joom.com platform (“Joom”), ContextLogic, Inc.,




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   which operates the Wish.com website (“ContextLogic”), and their related companies and

   affiliates shall, to the extent not already done, (i) immediately identify all financial accounts

   and/or sub-accounts, associated with the Internet website and Internet based e-commerce stores

   operating under the Subject Domain Name and Seller IDs, merchant identification numbers,

   and/or the e-mail addresses identified on Schedule “A” hereto, as well as any other accounts of

   the same customer(s); (ii) identify all other accounts which transfer funds into the same financial

   institution account(s) or any of the other financial accounts subject to this Order; (iii) restrain the

   transfer of all funds, as opposed to ongoing account activity, held or received for their benefit or

   to be transferred into their respective financial accounts, and any other financial accounts tied

   thereto; and (iv) immediately divert those restrained funds to a holding account for the trust of

   the Court;

          (7)     Upon receipt of notice of this Order, Defendants and all financial institutions,

   payment processors, bank, escrow services, money transmitters, or marketplace platforms

   receiving notice of this Order, including but not limited to, Amazon, Dunhuang Group, Camel

   FinTech Inc, PayPal, Joom, ContextLogic, and their related companies and affiliates, shall

   further, to the extent not already done, provide Plaintiffs’ counsel with all data that details

   (i) an accounting of the total funds restrained and identify the financial account(s) and sub-

   account(s) which the restrained funds are related to, and (ii) the account transactions related

   to all funds transmitted into the financial account(s) and sub-account(s) which have been

   restrained. No funds restrained by this Order shall be transferred or surrendered by any financial

   institution, payment processor, bank, escrow service, money transmitter, or marketplace website,

   including but not limited to, Amazon, Dunhuang Group, Camel FinTech Inc, PayPal, Joom,

   ContextLogic, and their related companies and affiliates for any purpose (other than pursuant




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   to a chargeback made pursuant to their security interest in the funds) without the express

   authorization of this Court;

           (8)       Any Defendant or financial institution account holder subject to this Order may

   petition the Court to modify the asset restraint set out in this Order;

           (9)       This Order shall apply to the Subject Domain Name and Seller IDs, associated

   website and e-commerce stores, and any other domain names, websites, seller identification

   names, e-commerce stores, or financial accounts which are being used by the Defendants for the

   purpose of counterfeiting Plaintiffs’ Marks at issue in this action and/or unfairly competing with

   the Plaintiffs;

           (10)      Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Federal Rule of Civil Procedure 65(c),

   Plaintiffs shall maintain their previously posted bond in the amount of Ten Thousand Dollars and

   Zero Cents ($10,000.00), as payment of damages to which Defendants may be entitled for a

   wrongful injunction or restraint, during the pendency of this action, or until further Order of the

   Court. In the Court’s discretion, the bond may be subject to increase should an application be

   made in the interest of justice;

           (11)      Additionally, for the purpose of providing additional notice of this proceeding,

   and all other pleadings, orders, and documents filed herein, the owners, operators and/or

   administrators of the Internet marketplace websites, and/or financial institutions, payment

   processors, banks, escrow services, money transmitters, and marketplace platforms, including

   but not limited to Amazon.com, DHgate.com, eBay.com, Joom.com, Wish.com and

   ContextLogic, shall, at Plaintiffs’ request, provide Plaintiffs’ counsel with any e-mail address

   known to be associated with the Defendants’ respective Seller IDs;




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          (12)    This Order shall remain in effect during the pendency of this action, or until such

   further date as set by the Court or stipulated by the parties.

          DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida,

   this 12th day of June, 2020.




   Copies provided to:
   Counsel of Record




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                                   SCHEDULE A:
              DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, SELLER ID,
           ASSOCIATED FINANCIAL ACCOUNTS AND ADDITIONAL E-MAIL ADDRESS


            Defendant by Subject
Def. No.   Domain Name / Seller ID        Financial Account Information    Additional E-Mail Address

   1       merchclan.com                phamngocbich27060@gmail.com       support@merchclan.com
   2       Alimalalisai                 A300CFBDH69OG1
   3       BayBiGO                      A219XDZ2LMV2WN
   4       Dean Carnegie                A2J9MHTG1KPIDZ
   5       Dick Church                  A18NAJBQ54GGV0
   6       EarBell                      A1BHFGCJ0ES7JV
   7       Eastern Cowboy               A1T1M6SMLCQDJ2
   8       Geralry                      A2AURW80L41FGB
   9       Giieena                      AAXBIB59PYCZX
           jiningjintaihedianzishangw
  10       uyouxiangongsi               AZHN6KGYOITZZ
           junlianxianpeixianbaihuodi
  11       an                           A1M1ZJ0OWX0MXE
  12       Kingreat                     A38Q90S4MK3W0
  13       Koongso                      A2XFZTCE7XHII8
  14       LAVYINGYUSA                  AH3JNM3ZN1B45
  15       Lemonran                     AZ32M0N64H7KA
  16       li liangshengsdfrtdf         AK2GR196NUQLP
  17       liqiqimaoyouxiangongsi       A3AJ3DLY8J8GVW
  18       longjia917024                A3HA3Q20CFBWOW
  19       Magices                      A1U2TVYBMOD9F0
  20       MARI DM                      A188J7CGR17RKI
  21       shangzuo                     AAGI6NEOD1J8E
  22       skdj                         A15JJ24YYL2RCM
  23       SPbSj                        AQ7Q1N7UDCQI3
  24       TOMFOXS                      A5TK1M2E0IFQY


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25    Toresia                    A3SVZYLKVDJRY3
26    UJJERYTOW                  A3BXLWNP6MZ0EG
27    xuankeke                   A2A8H7AJPKQ9XV
      yi chang ding cai zhuang
28    shi gong cheng you xian    A3BSK2K9NXYLEC
29    zhendian                   AH86M0WZOMYRM
30    Amaz2016                   20279261
31    Bapeaape                   20569870
32    Cloth_mall                 20994301
33    Cnkk                       21092061
34    Cooposc                    21227252
35    Designlife                 20800367
36    Dh_kenzo                   21227254
37    Dododi                     20968960
38    fishclub                   21185153
39    giantcutedepartments       21081345
40    Good_babyclothes           20608955

41    H_ss                       19312457
42    Iiceef                     21227651
43    Ktmsky                     21176071
44    liqyi0304                  20471186
45    Malleight                  20451232
46    Memell                     21226975
47    Popooi                     21141938
48    shangshenglingshig         20549067

49    Sunflower_fz               20996077
50    Tt_lady                    21065021
51    Vipvood                    21227130
52    Vogocm55                   20899187

53    Yanliw123                  16213451

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54    basap-37                 hahajuity@gmail.com

55    ca1862                   pakcamat0011@gmail.com
56    charity_79               charityburris55@gmail.com
57    cvcvx_1                  dewiriana898@gmail.com
58    dadandodo0               dadangdodot679@gmail.com
59    dayrifa_0                dayu7820@gmail.com
60    deyfdidi0                deyfadidit453@gmail.com
61    dipras23                 dimasprasetya56@hotmail.com
62    diyamay-0                diyanmaya67@gmail.com
63    gunjae-0                 gunturjaelani88@gmail.com
64    id2015.berl              adeliaberlian@yahoo.com
65    jokpel-0                 jokopelo209@gmail.com
66    joobla-8                 oblak6223@gmail.com
67    latif45                  happykamudan@gmail.com
68    marketdaymarketday       Transaction ID:44P28451KL3153647
69    nanankose0               nanangkosem6675@gmail.com
70    nguybich65               aduong15987@gmail.com
71    rizfatu_0                rizafatur688@gmail.com

72    rudiyantputr-0           rudiyantoputra21@gmail.com
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77    yumanugroh_0             yumannugroho21@gmail.com
78    zitnala-0                zitnialam547@gmail.com
79    Arbutus                  5b51a4768b2c370353deec85
80    Atlanta                  5af010f08b2c3703f45133b3
81    Barcelona                5af0125c8b45130383483ad3
82    Beagirl                  5b8e1e408b451303f398c65c

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83    Bluebell                 5b51a4c01436d40366ca9a53
84    Cairo                    5af013558b2c3703f451678e
85    DC Shoes                 5be2d6518b4513034ead677e
86    Dream Back KiD           5ddf3e1b28fc710301cb951f
87    Dublin                   5af012f01436d40316ece4c7
88    EnjoyLi                  5c9351091436d4030152564c
89    Gnbu1                    5dd3affc8b2c370301901b46
90    Golden Bamboo            5b51a25a8b451303bc8c1ad7
91    Houston                  5af0110c8b451303834829ca
92    Istanbul                 5af012681436d40316ecc871
93    Milan                    5af010491436d40316ec71a8
94    Mint                     5b51a26f8b451303bc8c1bb2
95    Morning Glory-43         5b51a7c08b451303bc8c716b
96    Munich                   5af010cd8b2c3703f4513196
97    NMUM                     5d9b514136b54d03012b9ad9
98    QWA327                   5e0aa2b08b2c3703019f66fc
99    San Diego                5af012038b45130383483470
                               1510907051958937023-153-3-26193-
100   sanjose                  734915978
101   Star Cluster             5b51a3131436d40366ca872e
102   Taraxacum-50             5b51acad1436d40366cb145d
103   Tiger Lily-49            5b51ac558b451303bc8caf22
104   Vienna                   5af010018b2c3703f450dd4c
105   Warsaw                   5af011618b2c3703f45138b9
106   lucky and happy          5e09cdcae0e2e0098eb668f4
107   luoshuanglin0812         5e0dd94ca577533230033073
108   marinaallenshop          59dba4be15da0767683bb10b
109   Tobeno1shop              59f88ab368788b1a4c181ee5




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